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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

DOUGLAS FARRELL,

       Plaintiff,

-vs-                                              CASE NO.: 6:15-CV-01613-ORL-31TBS

NATIONSTAR MORTGAGE, LLC.,

       Defendant.
                                      /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW the Plaintiff, Douglas Farrell, and the Defendant, Nationstar Mortgage

LLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with prejudice,

each claim and count therein asserted by Plaintiff against the Defendant in the above styled

action, with Plaintiff and Defendant to bear their own attorney’s fees, costs and expenses.



       Respectfully submitted this 20th day of February, 2017.



s/Octavio Gomez                                   s/Sara F. Holladay-Tobias
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